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 1   JOSEPH J. WISEMAN, ESQ., CSBN 107403
     JOSEPH J. WISEMAN, P. C.
 2     1477 Drew Avenue, Suite 106
       Davis, California 95618
 3     Telephone: 530.759.0700
       Facsimile: 530.759.0800
 4
     Attorney for Defendant
 5   JAMES KEVIN DIXON
 6

 7
                              IN THE UNITED STATES DISTRICT COURT
 8
                           FOR THE EASTERN DISTRICT OF CALIFORNIA
 9
                                        SACRAMENTO DIVISION
10

11
     UNITED STATES OF AMERICA,                       ) Case No. CR.S-08-263 FCD
12                                                   )
                                Plaintiff,           )
13                                                   )
             vs.                                     ) STIPULATION AND ORDER TO
14                                                   ) EXCLUDE TIME
     JAMES KEVIN DIXON,                              )
15                                                   )
                                Defendant.           )
16                                                   )
                                                     )
17

18

19            The parties agree that time beginning January 21, 2009 and extending through March 30,

20   2009, should be excluded from the calculation of time under the Speedy Trial Act. The parties

21   submit that the ends of justice are served by the Court excluding such time, so that they may

22   have reasonable time necessary for effective preparation, taking into account the exercise of due

23   diligence. 18 U.S.C. § 3161(h)(8)(B)(iv). In particular, the time is required so that the defense

24   may review and analyze the voluminous discovery generated in this case. The parties submit

25   that the interest of justice outweighs the best interest of the public and the defendant in a speedy

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     /////

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     STIPULATION AND ORDER TO EXCLUDE TIME                                             CR S 08-263 FCD
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 1   trial. 18 U.S.C. § 3161(c)(1), (h)(8)(A).
 2

 3   Dated: February 10, 2009             Respectfully submitted,
 4                                        JOSEPH J. WISEMAN, P.C.
 5

 6                                        By:    /s/ Joseph J. Wiseman
 7                                               JOSEPH J. WISEMAN
                                                 Attorney for Defendant
 8
                                                 JAMES KEVIN DIXON
 9

10
     Dated: February 10, 2009             LAWRENCE G. BROWN
11                                        United States Attorney

12
                                          By:     /s/ Matthew D. Segal
13
                                                 MATTHEW D. SEGAL, AUSA
14                                               Attorney for Plaintiff
                                                 UNITED STATES OF AMERICA
15

16
                                                 ORDER
17
            GOOD CAUSE HAVING BEEN SHOWN, IT IS HEREBY ORDERED THAT that time
18
     beginning January 21, 2009 and extending through March 30, 2009, should be excluded from the
19
     calculation of time pursuant to 18 U.S.C. §§ 3161(h)(8)(B)(iv) (reasonable time to prepare) and
20
     Local Rule T4.
21

22   Dated: February 12, 2009
23
                                                     ___________________________________________
24                                                       FRANK C. DAMRELL, JR.
                                                         UNITED STATES DISTRICT JUDGE
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     STIPULATION AND ORDER TO EXCLUDE TIME                                           CR S 08-263 FCD
